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                                 UNITED STATES DISTRICT COURT
14                             NORTHERN DISTRICT OF CALIFORNIA
                                    SAN FRANCISCO DIVISION
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16       CLOUDOFCHANGE, LLC,                           Case No.: 3:23-cv-03005-AMO
                  Plaintiff,
17                                                     JOINT STATUS REPORT
         vs.                                           PURSUANT TO DECEMBER 12,
18                                                     2024 (DKT. 146) ORDER
         CLOVER NETWORK, INC.,
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                   Defendant.
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                                                                          JOINT STATUS REPORT
                                                                     CASE NO: 3:23-CV-03005-AMO
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 1          Pursuant to this Court’s December 12, 2024 Order (Dkt. 146), Plaintiff CloudofChange,

 2   LLC (“CoC”) and Defendant Clover Network, LLC. (“Clover”), 1 file this Joint Status Report.

 3          Plaintiff filed the Complaint on June 17, 2022, alleging infringement by Clover of U.S.

 4   Patent No. 9,400,640 (the “’640 Patent”), U.S. Patent No. 10,083,012 (the “’012 Patent”), and U.S

 5   Patent No 11,226,793 (the “’793 Patent”) (collectively, the “Asserted Patents”). Dkt. 1.

 6          In October and November 2023, the Patent Trial and Appeal Board (PTAB) issued Final

 7   Written Decisions which determined all asserted claims are unpatentable:

 8               •   A Final Written Decision in IPR2023-00232 issued on October 18, 2023, holding
 9                   claims 1-28 of the ’640 Patent unpatentable.

10               •   A Final Written Decision in IPR2023-00288 issued on October 19, 2023 holding
11                   claims 1-20 of the ’012 Patent unpatentable.

12               •   A Final Written Decision in IPR2023-00287 issued on November 3, 2023 holding
13                   claims 1-4, 7-28, and 31-44 of the ’793 Patent unpatentable.

14          On December 1, 2023, this Court issued an Order granting the parties’ stipulation to stay

15   the case “in its entirety until 30 days after the final resolution, including any appeals, of the Final

16   Written Decisions in IPR2023-00288, IPR2023-00232 and IPR2023-00287.” Dkt. 139.

17          Plaintiff appealed all three Final Written Decisions in February and March 2024. On

18   March 15, 2024, all three appeals were consolidated. Plaintiff-Appellant CloudofChange filed its

19   reply brief on October 11, 2024.

20          On December 12, 2024, this Court issued an Order directing the parties to “file a further

21   joint status report by March 12, 2025 and every 90 days thereafter until the appeal is resolved.”

22   Dkt. 146.

23          On March 10, 2025, the parties submitted a Joint Status Report, which stated that the appeal

24   remains pending and oral argument has not been set. Dkt. 147.

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27    “Clover” refers to Clover Network, LLC, formerly known as Clover Network, Inc. Clover
     Network, Inc. converted to Clover Network, LLC in 2021, before Plaintiff filed this lawsuit.
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                                                                                     JOINT STATUS REPORT
                                                                                CASE NO: 3:23-CV-03005-AMO
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 1          There has been no change since the March 10, 2025 Joint Status Report. The appeal

 2   remains pending and oral argument has not been set. The parties agree that the case should remain

 3   stayed pending the appeal and request that the Court continue the stay through the completion of

 4   the appeal.

 5

 6   Dated: June 6, 2025

 7   Respectfully submitted,                         Respectfully submitted,
 8    PATTERSON + SHERIDAN, LLP
 9    By: /s/ Joseph John Stevens                    By: /s/ Liv Herriot
      Joseph John Stevens (CA Bar No. 242495)        Liv Herriot (SBN 267694)
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 1                                        ECF ATTESTATION

 2          I hereby attest under penalty of perjury that concurrence in the filing of this document has

 3   been obtained from counsel for Defendant.

 4   Dated: June 6, 2025

 5                                                             By: /s/ Liv L. Herriot

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                                                                             CASE NO: 3:23-CV-03005-AMO
